
195 N.W.2d 189 (1972)
STATE of Minnesota, Respondent,
v.
Jay BURNETT, Appellant.
Nos. 42470, 42331.
Supreme Court of Minnesota.
February 25, 1972.
C. Paul Jones, Public Defender, Earl P. Gray, Doris O. Huspeni, Asst. Public Defenders, Minneapolis, for appellant.
Warren Spannaus, Atty. Gen., John M. Mason, Sol. Gen., St. Paul, Paul J. Tschida, Sp. Asst. Atty. Gen., John E. Jansen, County Atty., Stillwater, for respondent.
Heard before KNUTSON, C. J., and MURPHY, KELLY, and HACHEY, JJ.

OPINION
PER CURIAM.
Defendant appeals from a conviction of the crime of escape and from an order denying him a writ of habeas corpus. His contention is that his guilty plea should be vacated because of statements made by him at the time of the plea which are inconsistent with guilt. The statements refer to a spell which the defendant claims to have experienced rendering him unable to remember his act of escape. The trouble with defendant's contention is that after he admittedly came to his senses, he did not end his escape. Escape is a continuing offense. His admission that he continued to escape after his recovery from his spell constitutes a factual basis for his guilty plea. See, Parent v. State, 31 Wis. 2d 106, 141 N.W.2d 878 (1966).
Affirmed.
TODD, J., not having been a member of this court at the time of the argument and submission, took no part in the consideration or decision of this case.
